Case 2:20-cv-02892-SHL-tmp Document 154 Filed 11/10/21 Page 1 of 2                        PageID 2571



                                                                                           Revised July 2012
                  United States District Court for Western District of Tennessee
                    MOTION FOR LEAVE TO APPEAR PRO HAC VICE

 Case Title
  Plaintiff
  Jessica Jones, et. al.
  Defendant
  Bain Capital Private Equity, et. al.
  Case Number                                            Judge
  2:20-cv-02892-SHL-tmp                                 Judge Sheryl H. Lipman

     Daniel C. Hedlund
 I, _______________________________________________________                hereby apply to the United
 States District Court for the Western District of Tennessee, pursuant to Local Rule 83.4(d), for
 permission to appear and participate in the above-entitled action on behalf of
  Plaintiffs Jessica Jones, Michelle Velotta, and Christina Lorenzen
 __________________________________________________                  by whom I have been retained.

 I am a member of good standing and eligible to practice before the following courts:
                                   Title of Court                                 Date Admitted

              Supreme Court in State of Minnesota                                  10/27/1995
  United States District Court for the District of Minnesota                       08/01/1997
  United States Court for Appeals for the Eighth Circuit                           01/22/2010


 I certify that I subject myself to the jurisdiction of the United States District Court for the
 Western District of Tennessee and have obtained and have familiarized myself with and agree
 to be bound by the Western District of Tennessee Local Rules, Tennessee Supreme Court Rule 8
 (Rules of Professional Conduct) and the Guidelines of Professional Courtesy and Conduct.

 Please find attached a certificate of good standing from the highest Court of a state or the
 District of Columbia, and from a United States District Court.

 A proposed order, in word processing format, granting this Motion will be emailed to the ECF
 mailbox of the presiding judge.




     The pro hac vice admission fee is $10.00 that shall be paid to the Clerk of Court through
                    the Court’s Electronic Case Filing System ’s pay.gov feature.




                                                    Page -1-
Case 2:20-cv-02892-SHL-tmp Document 154 Filed 11/10/21 Page 2 of 2                            PageID 2572




 I hereby certify that the information provided below is true and accurate:
  Applicant’s Last Name            First Name                           Middle Name/Initial

 Hedlund                           Daniel                              C.
  Applicant’s Firm Name
                          Gustafson Gluek PLLC
  Applicant’s Address                                                     Room/Suite Number
  120 South Sixth Street                                                        2600

  City
         Minneapolis                                 State
                                                             MN                    Zip Code
                                                                                              55402
  Applicant’s Email Address
               dhedlund@gustafsongluek.com
  Applicant’s Phone Number(s)
                                (612) 333-8844
                                   Certificate of Consultation


  I hereby certify that Plaintiffs' counsel conferred with Steven J. Kaiser, Matt Mulqueen,
  Brendan Gaffney, and Paul Coggins, via email on November 4 and November 9,
  2021, who do not oppose the foregoing Motion.




  Date                                               Electronic Signature of Applicant
          11/10/2021                                 S/ Daniel        C. Hedlund




                                                Page -2-
